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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 NO. 4:06CR00407-03 JLH

JEREMY TREMAYNE MCEWEN                                                            DEFENDANT

                                            ORDER

       Defendant Jeremy Tremayne McEwen appeared before the Court on July 19, 2012, for a

scheduled hearing on the government’s motion and supplemental motions to revoke supervised

release. Prior to the hearing, McEwen was drug tested by the United States Probation Officer. The

results of the test indicated McEwen was presumptively positive for marijuana. McEwen was

remanded to the custody of the United States Marshal until such time as he tested negative. The

Court has now been informed by the United States Probation Officer that McEwen’s drug test is

negative.

       IT IS THEREFORE ORDERED that the hearing on the government’s Motion and

Supplemental Motions to Revoke Supervised Release is hereby scheduled to begin on MONDAY,

AUGUST 6, 2012, at 2:00 p.m., in Courtroom #4-D, Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas, to show cause why the supervised

release previously imposed should not be revoked. Documents #86, #90, #93, #96, and #98.

       IT IS SO ORDERED this 3rd day of August, 2012.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
